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EXHIBIT 1: LETTERS IN SUPPORT OF JAMES “JIMMY” MELS
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To the office of:
The Honorable Chief Judge Howell

From:
John L. Carl



Dear Judge Howell

Below is a brief summary of who I am.

I have been married to the same wonderful wife for 40 years. I have been blessed with 4 children
and 8 grandchildren. Upon graduating High School my wife and I married and my enlistment in
the military began. I served Honorably in the United States Army as a Nuclear Warhead Specialist.
During my time in the service I held a Top Secret Security Clearance and processed Nuclear
Control Orders from the President of the United States. I was commended on multiple occasions
with various medals and letters of accommodation for my performance. After my term of service
was completed, I worked as an Industrial Maintenance Mechanic and ran a trucking company at
the same time. During this time I began developing small properties putting in private roads and
enjoying the fruits of my labor. My wife and I now are semi-retired snowbirds and enjoy spending
time with family and friends.

It is with tear-filled eyes and a heavy heart that I write this part of this letter. Less than a week
ago, I stood by James Mels as he buried his beloved wife of 27 years Dawn Mels. She died
suddenly and unexpectedly on 13 September 2022. Dawn and my wife had been friends since
age 13. I first met James Mels aka " Jimmy " on their wedding day. Jimmy was then and is now
an honest loving hug-everyone caring human being. I have never met a man that is more
thoughtful or concerned with the wellbeing of others ever in my life. He has not a violent bone
in his body and even if he rants or vents would never hurt another person. I have seen no better
demonstration of the reach of his love than at his wife's funeral. Over 600 people came to
express their condolences and he hugged and talked to every single one of them. I spent every
hour at the funeral home with him and I know this man. I stayed at his house trying to help him
with my wife by my side for 8 days following the passing of his wife. His concern first and foremost
was for Dawn's mother, sibling, nieces, nephews and his parents. If James Mels sees anyone
strangers included in need, this man will help with all he has. He is a Christian first and foremost.

James Mels parents both over 80 years old live in an assisted living facility. His father had a severe
stroke on the operating table and lost complete control over the left side of his body. His father
is confined to a wheelchair and needs help 24 hours a day 7 days a week. James Mels like
clockwork is there at his parents call every Sunday . His mother counts on his help on this day to
do the things she doesn't have the strength to accomplish. He loads his father into his vehicle
and takes him out for breakfast and a ride. His father needs help eating and getting cleaned up
and he is there. This day gives his mother a break and allows her to have a tiny slice of me time
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in a difficult situation. As the only son and best friend of his father I can only imagine the great
grief and suffering any long term separation would create for this relationship.

James Mels spends the remainder of his Sunday evenings standing with an American Flag on the
corner of Van Dyke in Shelby township . This is no joke he loves this country immensely. I do not
know another person that does this rain or shine he's there. As a veteran and friend this I know
to be true.

During the 2020 election the news here in Michigan did show what was termed as election
irregularities. It showed Antrim County had 100% of the county went for Joe Biden and this was
caused by clerical error. The news also showed a white van followed by a red Ferrari dumping
large bundles of ballots at somewhere around 3 am on election night in Wayne County. As news
of this and other oddities got out President Donald J Trump jumped on the bandwagon and
fanned the flames. Jimmy is not a very sophisticated, highly educated guy. He is earnest and
patriotic. If his commander in chief tells him something is true, he will believe it without question.
As protests to the election grew here many began planning to attend the various events. James
Mels contacted me and asked me to go with him to the Stop the Steal Rally on Jan 6th. It was my
belief then that this would not change the outcome and only the legal process of election
challenges could possibly make a difference.

James Mels called and texted me before he left and when he was there in Washington D.C.
During these conversations he assured me none of the people he was going with would or did
take any weapons not even a pocket knife. He traveled as part of a crowd to the capitol only
after the urging of President Donald J. Trump following the rally. He assured me he was going to
support the oath he had taken many years ago to support the United States Constitution and in
fact even took a pocket copy of it as his only weapon. He never intended or went to hurt anyone.

I traveled with James Mels when he came to his last hearing in front of you the Honorable Chief
Judge Howell. I went into the office of his court appointed attorney Elizabeth Mullin and had the
opportunity to see his face first hand as he watch himself on the film the prosecution was using
against him. His remorse and regret was evident in his entire demeanor. His head drooped his
face fell and he apologized to me for this. His attorney then turned his attention to his text and
electronic messages that the prosecution had presented. She opened the folder to a random
place and read aloud the venting and frustration that he had expressed. He was again in a state
of disbelief apologized again. I truly believe he did not realize how his messages sounded until he
heard them in my presence. This same attitude persisted throughout the day and in front of you
Judge Howell on that occasion. It is my sincere belief that if given the opportunity James Mels
would never do this again.

James Mels has been on probation for almost 2 years already - he has been a role model example
of rehabilitation. He has expressed his remorse and regret to me on many occasions. It is my
hope you allow this man to come home to Michigan after his final hearing. James Mels work ethic
is truly a valuable asset at his place of employment. He was highly missed at work due to the
passing of his wife and is now the sole breadwinner in his household. I know that any period of
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incarceration that didn't allow him to keep his job would 100% be the cause of a newly widowed
man losing his home next for he has nobody to pay his mortgage or bills.

Your consideration and care are greatly appreciated.

Most Sincerely,

John L. Carl
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Narrow Path Christian Church
Pastor Kevin Bruinsma
Pastor/Church Planter




Pastor_NPC@yahoo.com



Dear Honorable Judge Howell,

My name is Pastor Kevin Bruinsma, and I am the Pastor and Church Planter of Narrow Path Christian Church, now NPC
Ministries. This letter is on behalf of James Mels, who I have personally known since August 2012.

Since the start of the Church in October 2014, James attended every service on Sundays, usually being the first one to arrive
and known to not only help set-up, but also greeted everyone at the door as they entered the building. I can honestly say that
he is the happiest, most honest person I’ve ever known. James not only loves people but is also a strong man of Faith in our
loving Lord, Jesus Christ. Just spend 5 minutes with Jimmy and you’ll notice you can’t help but love him. The only time I saw
him not smiling, was last week as I performed the funeral service for his wife Dawn, who was called home suddenly on
September 13th.

Outside of Church, it’s not uncommon to find James at a Bike Charity Event in which money is raised for a great cause.
James, known by many in our community as “Jimmy” is well known and loved. In fact, most often, you’d be able to find
James at different bike charity events throughout the same weekend, several weekends throughout the year, for many years
now.

James has spoken to me, several times about his presence at the events that transpired on January 6th at our Capitol building.
Each time he has shared his story, he has expressed regret for breaking the law. Every time he talks about it, he says he was
there just to express himself and defend our great democracy but then made the mistake of entering the building when it was
off limits. He speaks with great emotion and can use it as a great testimony to the power of our Loving God.

Your Honor, thank you not only for taking your time in reading this letter, but thank you for all that you do. May God
continue to Bless you with great wisdom and discernment while judging all who appear before you. If you a have any further
questions, please feel free to contact me via phone or email.
                                                                                                               In service to God,
                                                                                                         Pastor Kevin Bruinsma




                                                                                                 Narrow Path Christian Church




                                                     Love God, Serve Others, Turn the World Upside Down
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Dear Judge Howell,

  I am Michelle Warby, Jimmy's younger sister. I am a warehouse technician Hilo driver. I load
and unload semi trucks. I work from 7am to 330pm Monday through Friday. I am also a
caregiver for our mom and dad. For 7 years ago our dad suffered a massive stoke on the
operation table and is paralyzed on his left side and is wheelchair bound. Our mom helps as
much as she can but she to lately has been needed help. I have had her tested for Alzheimer's and
Dementia and found out thank God she does not have that, but the doctor said she was feeling
like she was loosing her mind due to the stress from my brother her son and all this court and
legal stuff. She's so afraid she's going to loose her son to jail or death before she and our dad
dies.

Our world was shattered when my brother’s wife Dawn died on September 22, 2022. My brother
lost everything that meant anything to him. He left her in the care of a hospital after she fell and
suddenly she was dead. He is in shock. I'm worried for my brother and God wouldn't want me to
leave him alone so I missed 10 days of work to help him. Dawn did everything for Jimmy. He
didn't know how to pay bills what bank they even used. So I helped him make funeral
arrangements and burial arrangements.

Jimmy and I talked and he said he will help with our parents with me now that Dawn is gone. I'm
asking you to please have mercy on me to be able to let him help me with our parents. Jimmy is a
good person. He has served his country and has always help many. He has a good heart but
sometimes he doesn't think before he acts. But in his mind he is trying to do the right thing and I
know he learned a lot from the whole experience of going to D.C. and getting caught up with bad
influences.

May God Bless you and thank you for reading my email. My writing might not be good but for
graduating with a 3rd grade reading level hopefully you understand what I was trying to say!!!
Thank you so much



                Michelle Warby
                (
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                                                                              August 8, 2022

The Honorable Chief Judge Howell
United States District Court for the District of Columbia

Dear Judge Howell:

RE: Character Reference Letter for James Mels; Washington DC Capitol Building Incident
January 6th, 2021

       Please allow me to introduce myself. My name is Walter John Kronner. I am a
retired automotive engineer and spent my entire 45-1/2 year career working at
Chrysler/FCA Engineering in the Detroit, Michigan area.


       I have had the pleasure of knowing James Mels (Jimmy) and calling him a friend
for approximately one year. We have been getting together with mutual friends
regularly, almost every week, for several hours each time. During some of those
occasions Jimmy has openly discussed with me his participation in the events on January
6th and has conveyed to me that he had no intention of doing anything destructive or
harmful to anyone or anything at the time but is extremely remorseful of being involved
in the activities that resulted in the legal charges brought against him. In my honest
opinion illegal, violent or destructive acts of any sort would be totally out of character
for Jimmy. Jimmy has always acted as a gentleman and has always been very friendly
and courteous to me and everyone that I have seen him interact with. I have personally
seen him pitch in without being asked to help others in whatever way he can on many
occasions. Jimmy is a God-fearing well respected family man who takes all of his family
& civic responsibilities to heart.


        Please keep the above testament in mind to hopefully mitigate any decision that
the Court deems appropriate when determining the sentence for James Mels.



Sincerely,




Walter John Kronner
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Dear Judge Howell,

        My name is Mike Rintz; husband of 40+ years, fatherof three children, grandfatherto four
grandkids, and employed in management at RCO Engineering, one of the leading United States suppliers
of US Military and automotive suppliers, forover27 years.

         I have known James Mels forover 15 years now and there are many examples in which I have
known him to be a very devoted and loving husband to long-term wife, Dawn Mels, a supportive son to
his ill welled father and motherwho depend on his support daily for their own well-being, and
longstanding philanthropist in his local community. Those that have enjoyed working with James have
observed these characteristics in many examples within the workplace, mostly on a daily basis with his
continued deduction to putting the team first, following a job through to the end, and being the first one
to look for materials or go the extra mile to help anotherwith their own project. RepeatedlyJames is
one of the last employees to leave the shop until others have finished their daily tasks.

        On a personal level, I know James heavily supports his religious beliefs, as he is the first one to
pray forothers' well-beingand assist in multiple wayswithin his church. I myself had been diagnosed
with severe medical issues, leukemia cancer, and James was quick to prayfor my well-beingand healthy
recoverywithin his religious inner circle. Otherco-workers and family of his seekJamesforthe same
positive prayers. This also works in conjunction to his positive views on our local and national
government. James, like myself and many others, has always believed in good government; forthe
people, by the people, and good things will happen to all.

        In my experience with managing many others in the past three decades, James is one of those
positive and supportive citizens that this country was built on.



                                                                                                 Sincerely,

                                                                                             Michael Rintz
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